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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:25-cv-22896-JEM



   FRIENDS OF THE EVERGLADES, INC., a Florida
   not-for-profit corporation, and CENTER FOR
   BIOLOGICAL DIVERSITY, a 501(c)(3) nonprofit
   organization,

                   Plaintiffs,

   vs.

   KRISTI NOEM, in her official capacity as Secretary
   of the UNITED STATES DEPARTMENT OF
   HOMELAND SECURITY; TODD LYONS, in his
   official capacity as Acting Director of the UNITED
   STATES IMMIGRATION AND CUSTOMS
   ENFORCEMENT; KEVIN GUTHRIE, in his official
   capacity as Executive Director of the Florida Division
   of Emergency Management; and MIAMI-DADE
   COUNTY, a political subdivision of the State of
   Florida,

                   Defendants.


          PLAINTIFFS’ EXPEDITED MOTION FOR RULING ON MOTION FOR A
         TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

          Plaintiffs respectfully move for the entry of an order ruling on their June 27, 2025,

  Expedited Motion for a Temporary Restraining Order and Preliminary Injunction, (D.E. 5,

  hereinafter the “PI Motion”), which has been fully briefed since July 3, 2025. Plaintiffs respectfully

  request that the Court rule on the PI Motion,or refer the matter to the Magistrate Judge for

  expedited resolution, by no later than Friday, July 18, 2025. Should the Court believe it helpful,

  Plaintiffs will appear at the Court’s convenience to present argument in support of the PI Motion.

  In support of this motion, Plaintiffs state as follows:
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                                             Introduction

         During the week of June 16, 2025, Florida Attorney General James Uthmeier announced

  that Florida would commandeer the Dade-Collier Training and Transition Airport (“TNT Site”)

  from Miami-Dade County under the Governor’s emergency powers to construct a mass detention

  center to detain noncitizens in partnership with the federal government. To Plaintiffs’ knowledge,

  work commenced on the site during the week of June 22, 2025. The Federal Government has

  promised to pay for the work. (D.E. 25.)

         On June 27, 2025, Plaintiffs filed a Complaint for Declaratory and Injunctive Relief (D.E.

  1) and their PI Motion. (D.E. 5.) 1 The Complaint and PI Motion demonstrate that the Defendants’

  activities on the TNT Site require compliance with the National Environmental Policy Act, 42

  U.S.C. § 4321, et seq. (“NEPA”), and alleged that Defendants failed to comply with NEPA’s

  requirements. Among other things, NEPA requires an assessment of alternatives to the action, and

  the preparation of an environmental impact statement, after public participation, to evaluate the

  environmental effects of the project. See generally Okeelanta Corp. v. United States Army Corps

  of Eng’rs, 132 F.4th 1320, 1344 (11th Cir. 2025) (“NEPA requires that federal agencies consider

  in an EIS the environmental effects of proposed major actions, which include actions that an

  agency permits. NEPA is ‘essentially procedural, designed to ensure ‘fully informed and well-

  considered decision[s]’ by federal agencies.”) (quoting Vt. Yankee Nuclear Power Corp. v. NRDC,

  435 U.S. 519, 558 (1978)).

         All Defendants have responded in opposition to the PI Motion, with the final response

  received from the Federal Defendants on July 3, 2025. (D.E. 21.) Defendants’ responses all but




  1
   The PI Motion requested issuance of a temporary restraining order under Rule 65. As all
  Defendants have now appeared, preliminary injunctive relief is requested.
                                                2
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  concede that no NEPA evaluation has occurred, instead arguing that the action is exempt from

  NEPA. Within 24 hours of receiving the final opposition memorandum from the Federal

  Defendants, Plaintiffs filed a consolidated reply memorandum addressing the opposition briefs

  received from the Federal Defendants, the State, and Miami-Dade County. 2 (D.E. 24, filed July 3,

  2025.)

           Plaintiffs’ PI Motion requested an expedited ruling and noted that DHS and ICE had

  publicly stated they intended to commence detaining individuals at the TNT Site as early as July

  1, 2025. (D.E. 5, at 5.) In fact, the Federal Defendants or their agents have transported immigration

  detainees to the TNT Site. 3 The conditions at the TNT Site have been described as inhumane and

  unsanitary, and ignited a public outcry. 4 Elected State officials have been denied access to the

  Site. 5 The Miami-Dade County Mayor has expressed “grave concerns” over conditions at the Site

  and requested an opportunity to inspect it, which has been denied. 6

           The environmental impacts from work at the Site and ongoing operations are patent, and

  include filling and paving of previously open areas, see D.E. 27, and ongoing light pollution from

  operation of a mass detention center, see D.E. 24-4, which is significant because this is an

  unprecedented use of the TNT Site within the Big Cypress National Preserve, which is home to




  2
    Plaintiffs are no longer seeking injunctive relief as against the County.
  3
         See https://www.pbs.org/newshour/nation/first-immigration-detainees-arrive-at-alligator-
  alcatraz-in-florida-everglades.
  4
      See, e.g., https://www.newsweek.com/immigration-migrant-alligator-alcatraz-ice-detained-
  2096868; https://www.cbsnews.com/miami/news/alligator-alcatraz-detainees-allege-inhumane-
  conditions-at-immigration-detention-center/;       https://www.yahoo.com/news/alligator-alcatraz-
  detainees-describe-spoiled-230853523.html;
  https://www.miamiherald.com/news/local/immigration/article310130645.html.
  5
     See https://www.cbsnews.com/miami/news/democratic-lawmakers-denied-entry-to-alligator-
  alcatraz-immigration-detention-site/
  6
        https://www.nbcmiami.com/news/local/mayor-critical-of-alligator-alcatraz-told-she-cannot-
  access-facility/3654765/
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  federally protected nocturnal species and an internationally recognized dark sky park. 7 As

  discussed further below, other environmental harms continue to occur, as well as harms to

  Plaintiffs’ procedural rights under NEPA.

                                              Argument

         The PI Motion, which has been pending now for two weeks, is urgent—which is why

  Plaintiffs requested expedited relief. 8 In In re Fort Worth Chamber of Commerce, 100 4.th 528

  (5th Cir. 2024), the Fifth Circuit explained that delay in resolving a motion for preliminary

  injunction can be considered an effective denial under certain circumstances. Id. at 534. There, the

  plaintiff requested expedited review of its motion for preliminary injunction and advised the

  district court that the plaintiff would consider the motion denied absent a ruling within three days.

  The district court denied the request for expedited review. The plaintiff appealed arguing that the

  failure to rule was effective denial, appealable under 28 U.S.C. § 1292(b). The Court of Appeals

  found that indeed the District Court had effectively denied preliminary injunctive relief “by not

  properly ruling on it.” Id. at 535. The Court explained that while a plaintiff “cannot simply say

  they need an expedited ruling and then appeal by claiming effective denial when they don’t get on



  7
     See https://www.nps.gov/bicy/planyourvisit/astronomy-programs.htm (“Big Cypress National
  Preserve [is] home to some of the last remaining dark skies in the country and [is] committed to
  protecting the night sky resource.”).
  8
    Plaintiffs did not designate their motion as an “emergency” under S.D. Fla. L.R. 7.1(d)(1), as
  local rules preclude such a designation where the motion would become moot if not resolved
  within seven days. Plaintiffs’ PI Motion did not meet this criterion, and it is not moot as the NEPA
  violation is ongoing and may be remedied by putting a halt to further and on-going activity at the
  TNT Site. See, e.g., Tennessee Valley Auth. v. Hill, 437 U.S. 153 (1978) (where Court halted
  construction of a dam that had been “virtually completed” based on a NEPA violation); Fla.
  Wildlife Fed’n v. United States Army Corps of Eng’rs, 404 F. Supp. 2d 1352, 1357 (S.D. Fla. 2005)
  (wherein court granted the plaintiffs’ request for injunctive relief and enjoined ongoing
  construction on wetlands in Palm Beach County); Manatee Cty. v. Gorsuch, 554 F. Supp. 778, 795
  (M.D. Fla. 1982) (enjoining further dumping of dredged material, even when the defendants
  argued it would “cause serious contractual difficulties and would substantially increase the cost of
  the project.”).
                                                   4
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  their preferred timeline,” where there is a basis for urgency and a diligent plaintiff, the failure to

  rule is effective denial. Id.; see also Amazon.com Servs. LLC v. Nat’l Lab. Rels. Bd., 136 F.4th

  577, 582 (5th Cir. 2025) (holding that a plaintiff claiming effective denial of preliminary injunctive

  relief based on failure to rule must demonstrate diligence in requesting a ruling). Accordingly,

  Plaintiffs respectfully request that the Court act on the PI Motion no later than July 18.

         Here, Plaintiffs requested ruling on their PI Motion, which included a TRO request, by July

  1, 2025, to preserve the status quo before detained persons were transferred to the site and it

  commenced operation, which causes further harm. (D.E. 5, at 5.) After Defendants responded in

  opposition to the TRO motion, Plaintiffs filed their reply within 24 hours, late in the evening before

  the July 4 holiday. Meanwhile, with each passing day there is ongoing harm to Plaintiffs’

  procedural rights under NEPA, see Okeelanta Corp., 132 F.4th at 1337 (explaining the “special

  nature of … injury [arising from] failure to follow NEPA ….”), and material and significant harm

  to environmental resources. These harms include harm to Plaintiffs’ members’ recreational,

  aesthetic, and other interests in the environment, as demonstrated in the declarations attached to

  the PI Motion. (DE 5-1, 5-2 & 5-3.)           These harms are ongoing and warrant immediate

  consideration.

         WHEREFORE, Plaintiffs respectfully request that the Court rule on their PI Motion, or

  refer the matter to the Magistrate Judge for expedited resolution, by no later than Friday, July 18,

  2025. Plaintiffs are prepared to appear at the Court’s convenience to address any questions the

  Court may have.

  Dated: July 11, 2025

  Respectfully submitted,




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   EARTHJUSTICE                                  COFFEY BURLINGTON, P.L.
   4500 Biscayne Boulevard, Suite 201            2601 South Bayshore Drive, Penthouse One
   Miami, Florida 33137                          Miami, Florida 33133
   Telephone: (305) 440-5432                     Telephone: (305) 858-2900

   By:         s/ Tania Galloni                  By:       s/ Paul J. Schwiep
         Tania Galloni, Fla. Bar No. 619221         Paul J. Schwiep, Fla. Bar No. 823244
         tgalloni@earthjustice.org                  PSchwiep@CoffeyBurlington.com
         Dominique Burkhardt, Fla. Bar No.          Scott Hiaasen, Fla. Bar No. 103318
         100309                                     SHiaasen@CoffeyBurlington.com
         dburkhardt@earthjustice.org                YVB@CoffeyBurlington.com
         Alisa Coe, Fla. Bar No. 10187              LPerez@CoffeyBurlington.com
         acoe@earthjustice.org                      service@CoffeyBurlington.com

   Counsel for Friends of the Everglades         Counsel for Plaintiffs

   CENTER FOR BIOLOGICAL DIVERSITY
   Post Office Box 2155
   St. Petersburg, FL 33731
   Telephone: (727) 755-6950

   By:       s/ Elise Pautler Bennett
   Elise Pautler Bennett, Fla. Bar No. 106573
   ebennett@biologicaldiversity.org
   Jason Alexander Totoiu, Fla. Bar No. 871931
   jtotoiu@biologicaldiversity.org

   Counsel for Center for Biological Diversity




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 11, 2025, I electronically filed the foregoing with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record on the Service List below via transmission of Notice of Electronic

  Filing generated by CM/ECF.

                                                            s/ Paul J. Schwiep

                                             Service List
   Nathan A. Forrester                              BOIES SCHILLER FLEXNER LLP
      Chief Deputy Solicitor General                Jesse Panuccio, Esq.
   nathan.forrester@myfloridalegal.com              jpanuccio@bsfllp.com
   Robert S. Schenck                                Evan Ezray, Esq.
      Assistant Solicitor General                   eezray@bsfllp.com
   robert.schenck@myfloridalegal.com                401 East Las Olas Boulevard, Suite 1200
   Office of the Attorney General                   Fort Lauderdale, Florida 33301
   The Capitol, PL-01                               Telephone: (954) 356-0011
   Tallahassee, Florida 32399-1050
   Telephone: (850) 414-3300                            Counsel for Defendant Kevin Guthrie, in his
   jenna.hodges@myfloridalegal.com                      official capacity as Executive Director of the
                                                        Florida Division of Emergency Management
   Counsel for Defendant Kevin Guthrie, in his
   official capacity as Executive Director of the
   Florida Division of Emergency Management

   GERALDINE BONZON-KEENAN                              HAYDEN P. O’BYRNE
   Miami-Dade County Attorney                           United States Attorney
   Christopher J. Wahl                                  Carlos J. Raurell
      Assistant County Attorney                            Assistant U.S. Attorney
   wahl@miamidade.gov                                   carlos.raurell@usdoj.gov
   David M. Murry                                       99 Northeast 4th Street
      Assistant County Attorney                         Miami, Florida 33132
   dmmurray@FlyMIA.com                                  Telephone: (305) 961-9243
   Stephen P. Clark County                              ADAM R.F. GUSTAFSON
   111 Northwest 1st Street, Suite 2810                 Acting Assistant Attorney General
   Miami, Florida 33128                                 Environment and Natural Resources Division
   Telephone: (305) 375-5151                               United States Department of Justice
   kgriffin@FlyMIA.com                                  Peter M. Torstensen, Jr.
   victor.rodriguez3@miamidade.gov                         Deputy Assistant Attorney General
                                                        Environment and Natural Resources Division
   Counsel for Miami-Dade County                           United States Department of Justice
                                                        Hayley A. Carpenter

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                                              Trial Attorney
                                           hayley.carpenter@usdoj.gov
                                           Natural Resources Section
                                           Ben Franklin Station
                                           P.O. Box 7611
                                           Washington, D.C. 20044-7611
                                           Telephone: (202) 305-0242

                                           Counsel for Kristi Noem, in her official
                                           capacity as Secretary, United States
                                           Department of Homeland Security, and Todd
                                           Lyons, in his official capacity as Acting
                                           Director, United States Immigration and
                                           Customs Enforcement




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